Case 2:04-CV-02664-SHI\/|-tmp Document 46 Filed 08/26/05 Page 1 of 2 Page|D 53

 

IN THE UNITED sTATEs DISTRICT coURT nm B"*" -----'l¢»
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION 05 #UBZ AH 5=|45
WUM%,W
PATRICE A. BREWER, aH%USDiSTH!CTC(l,RT
Plaintiff,
VS. NO. 04-2664-MaP

SYNOVUS TRUST COMPANY N.A.,

Defendant.

 

ORDER DENYING MO'I'ION AS MOO'I'

 

Before the court is the November 4, 2004, motion (D.E. #13)
by plaintiff for an order directing the clerk of court to enter
default and for reconsideration of the order denying default
judgment. The motion for default was again denied on December
20, 2005 (D.E. #30). The motion is moot and is, therefore,

denied.

It is so ORDERED this 7"(P¢Hay of August, 2005.

SAMUEL H. MAYS, JR.
U'NI'I‘ED STA'I'ES DISTRICT JUDGE

 

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

